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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

                                           )
In re:                                     )   Chapter 11
                                           )
TUPPERWARE BRANDS CORPORATION,             )   Case No. 24-12156 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
DART INDUSTRIES INC.,                      )   Case No. 24-12160 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
DEERFIELD LAND CORPORATION,                )   Case No. 24-12161 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
PREMIERE PRODUCTS, INC.,                   )   Case No. 24-12162 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
TUPPERWARE HOME PARTIES LLC,               )   Case No. 24-12163 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
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                                           )
In re:                                     )   Chapter 11
                                           )
TUPPERWARE INTERNATIONAL                   )   Case No. 24-12164 (BLS)
HOLDINGS CORPORATION,                      )
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
TUPPERWARE PRODUCTS AG,                    )   Case No. 24-12165 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
TUPPERWARE PRODUCTS, INC.,                 )   Case No. 24-12166 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
TUPPERWARE U.S., INC.,                     )   Case No. 24-12167 (BLS)
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )
                                           )
In re:                                     )   Chapter 11
                                           )
TUPPERWARE BRANDS LATIN                    )   Case No. 24-12168 (BLS)
AMERICA HOLDINGS, L.L.C.,                  )
                                           )
                    Debtor.                )
                                           )
Tax I.D. No. XX-XXXXXXX                    )   Re: Docket No. 4




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                  ORDER (I) DIRECTING JOINT ADMINISTRATION
             OF CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

        Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this “Order”): (a) directing the joint

administration of these chapter 11 cases for procedural purposes only; and (b) granting related

relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012, and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2), and this Court having found that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests of the

Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances and no other notice need be provided; and this Court having reviewed the

Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted as set forth in this Order.



1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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             2.    The above-captioned chapter 11 cases are consolidated for procedural purposes

only and shall be jointly administered by the Court under Case No. 24-12156 (BLS).

             3.    The caption of the jointly administered cases should read as follows:

                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                              )
    In re:                                    ) Chapter 11
                                              )
 TUPPERWARE BRANDS CORPORATION, et al.,1 ) Case No. 24-12156 (BLS)
                                              )
                   Debtors.                   ) (Jointly Administered)
                                              )
___________________________________________________
1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Tupperware Brands Corporation (2333); Dart Industries Inc. (5570); Deerfield Land Corporation
      (0323); Premiere Products, Inc. (4064); Tupperware Home Parties LLC (1671); Tupperware International
      Holdings Corporation (8983); Tupperware Products AG (6765); Tupperware Products, Inc. (8796); Tupperware
      U.S., Inc. (2010); and Tupperware Brands Latin America Holdings, L.L.C. (0264). The location of the Debtors’
      service address in these chapter 11 cases is: 14901 S Orange Blossom Trail, Orlando, FL 32837.

             4.    The foregoing caption satisfies the requirements set forth in section 342(c)(1) of

the Bankruptcy Code.

             5.    A docket entry, substantially similar to the following, shall be entered on the docket

of each of the Debtors other than Debtor Tupperware Brands Corporation to reflect the joint

administration of these chapter 11 cases:

                   An order has been entered in accordance with Rule 1015(b) of the
                   Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                   Local Rules of Bankruptcy Practice and Procedure of the United
                   States Bankruptcy Court for the District of Delaware, directing joint
                   administration for procedural purposes only of the chapter 11 cases
                   of: Tupperware Brands Corporation, Case No. 24-12156 (BLS);
                   Dart Industries Inc., Case No. 24-12160 (BLS); Deerfield Land
                   Corporation, Case No. 24-12161 (BLS); Premiere Products, Inc.,
                   Case No. 24-12162 (BLS); Tupperware Home Parties LLC, Case
                   No. 24-12163 (BLS); Tupperware International Holdings
                   Corporation, Case No. 24-12164 (BLS); Tupperware Products AG,
                   Case No. 24-12165 (BLS); Tupperware Products, Inc., Case
                   No. 24-12166 (BLS); Tupperware U.S., Inc., Case No. 24-12167

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               (BLS); and Tupperware Brands Latin America Holdings, L.L.C.,
               Case No. 24-12168 (BLS). The docket in Case No. 24-12156 (BLS)
               should be consulted for all matters affecting this case.

         6.    The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the District of Delaware shall keep, one consolidated docket, one file, and one consolidated

service list for these chapter 11 cases.

         7.    Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases, and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

         8.    Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and such notice satisfies the requirements of the Bankruptcy Rules and the Local

Rules.

         9.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         10.   This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




Dated: September 20th, 2024                       BRENDAN L. SHANNON
Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE




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